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 4                         UNITED STATES DISTRICT COURT
 5                                 DISTRICT OF NEVADA
 6                                             ***
 7   UNITED STATES OF AMERICA,                   )
                                                 )
 8                          Plaintiff,           )
                                                 )      2:07-CR-00132-PMP-RJJ
 9   vs.                                         )
                                                 )
10   KATHY NELSON,                               )
                                                 )            ORDER
11                                               )
                            Defendant.           )
12                                               )
13            Before the Court for consideration is Defendant Kathy Nelson’s Motion to
14   Vacate Under 28 U.S.C. § 2255 (Doc. #93), filed August 3, 2010. The Court finds
15   that on each of the arguments set forth by Defendant Nelson in support of her Motion
16   must be rejected and that her Motion must be denied.
17            Specifically, Defendant has failed to demonstrate that representation by her
18   counsel was deficient or that any deficiency in her counsel’s performance would
19   have altered the results of her conviction and her sentence. Strickland v.
20   Washington, 466 U.S. 668, 387-88 (1984).
21            Second, Defendant has failed to demonstrate that Plaintiff United States
22   breached any aspect of the plea agreement in her case. Finally, it is abundantly clear
23   from the record that Defendant Nelson did not receive erroneous advice concerning
24   the deadline for filing an appeal, and that the appeal in her case was dismissed
25   because she escaped from federal custody while her appeal was pending. The Court
26   finds Defendant Kathy Nelson’s Motion to be meritless.
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 1           IT IS THEREFORE ORDERED that Defendant Kathy Nelson’s Motion
 2   to Vacate Under 28 U.S.C. § 2255 (Doc. #93) is DENIED.
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 4   DATED: January 10, 2011.
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                                           PHILIP M. PRO
 7                                         United States District Judge
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